                Case 3:19-cr-00134-GC                             Document 348                   Filed 08/13/19                    Page 1 of 1 PageID: 633
CiA 20 APPOINTMENT Of AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
1. CIR./DIST./ DIV. CODE                 2. PERSON REPRESENTED                                                                 VOUCHER NUMBER
 NJDX3                                   OMAR COUNCIL
3. MAG. DKT./DEF. NUMBER                           4. DIST. DKT./DEF. NUMBER                      5. APPEALS DKT./DEf. NUMBER                      6. OTHER DKT. NUMBER
  18-1535(DEA)
                                              (‘                    -

7. IN CASE/MATTER OF (Case Name)         8. PAYMENT CATEGORY                                9. TYPE PERSON REPRESENTED                      10. REPRESENTATION TYPE
                                             Felony                LI Petty Offense              Adult Defendant         LI Appellant            (See Instructions)
  USA JAKIR TAYLOR                       LI Misdemeanor            LI Other                 LI   Juvenile Defendant LI Appellee
                                                                                                                                            CC
                                         LI Appeal                                          LI Other
II. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five major offenses charged, according to severity of offense.
  21 :841 (a)(1) and (b)(1 )(A)

12. ATTORNEY’ S NAME (First Name, MI., Last Name, including any suffix),                          13. COURT ORDER
    AND MAILING ADDRESS                                                                            LI 0 Appointing Counsel                         LI    C Co-Counsel
                                                                                                   LI F Subs For Federal Defender                        R Subs For Retained Attorney
 Mark W • Catanzaro Es q•                                                                             P Subs For Panel Attorney
                                                                                                                                                   LI
                                                                                                     ‘                                             LI    Y        Standby Counsel
 21 Grant Street
                                                                                                                                                    f\1cCo(
                                                                                                                                                              ‘




 Mount Holly NJ 08060                                                                             PriorAttomey’s
                                                                                                      Appointment Dates:  —                   p — ‘a_i ‘b
                                                   (tflQ\ 6                                        LI Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:                            “    /                                         satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
                                                                                                  not wish to waive counsel, and because the interests ofjustice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                          name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                   LI Other (See Instiuctiom)
  Law Office of Mark W Catanzaro
                                                                                                                               (         t-ij
                                                                                                                      Signature of Presiding Jud        or   By Order of the Court
                               08060                                                                              /

                                                                                                                                     C
                                                                                                                       cj
                                                                                                                               3.)
                                                                                                                   Date of Order                              Nunc Pro Tune Date
                                                                                                  Repayment or partial repuyment ordered from the person represented for this service at time
                                                                                                  appointment.        LI YES      LI NO
      .                    CLAIM FOR SERVICES AND EXPENSES                                                                                 FOR COURT USE ONLY
                                                                                                            TOTAL              MATH/TECH.               MATHJTECH,
                                                                                    HOURS                                                                                        ADDITIONAL
          CATEGORIES (Attach itemization ofservices with dates)                                            AMOUNT               ADJUSTED                 ADJUSTED
                                                                                   CLAIMED
                                                                                                           CLAIMED               HOURS                   AMOUNT
15.       a. Arraignment andlor Plea                                                                               0.00                                               0.00
          b. Bail and Detention Hearings                                                                           0.00                                               0.00
          c. Motion Hearings                                                                                       0.00                                               0.00
          d. ThaI                                                                                                  0.00                                               0.00
          e. Sentencing Hearings                                                                                   0.00                                               0.00
          f. Revocation Hearings                                                                                   0.00                                               0.00
          g. Appeals Court                                                                                         0.00                                               0.00
          h. Other Specfy on additional sheets)                                                                    0.00                                               gpo
          (RATE PER HOUR = S                             )   TOTALS:                          0.00                 0.00                    0.00                       0.00
16.       a. Interviews and Conferences                                                                            0.00                                               0.00
          b. Obtaining and reviewing records                                                                       0.00                                               0.00
          c. Legal research and brief writing                                                                      0.00                                               0.00
          d. Travel time                                                                                           0.00                                               0.00
          e. Investigative and other work (Spec on additional sheets)                                              0.00                                               0.00
          (RATE PER HOUR = $                                )   TOTALS:                       0.00                 0.00                    0.00                       0.00
17.       Travel Expenses (lodging, parking, meals, mileage, etc.)
18.       Other Expenses (other than expert, transcripts, etc.)
GRAND           TOTAL,CLAIMED AND ADJUSTED):                                                                       0.00                                               0.00
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                            20. APPOINTMENT TERMINATION DATE                            21. CASE DISPOSITION
                                                                                                             IF OTHER THAN CASE COMPLETION
      FROM:                                            TO:
22. CLAIM STATUS                    El Final Payment            El Interim Payment Number                                          LI Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursement for this case? LI YES El NO             If yes, were you paid?    El YES El NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anythtng of value, from any other source in connection with this
      representation? El YES        El NO           If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attomey                                                                                                 ‘             Date

                                                         APPROVED FOR PAYMENT                        —    COURT USE ONLY
23. IN COURT COME.                     24. OUT OF COURT COMP.             25. TRAVEL EXPENSES              26. OTHER EXPENSES                      27. TOTAL AMT. APPR./CERT.
                                                                                                                                                   $0.00
28. SIGNATURE Of THE PRESIDING JUDGE                                                                       DATE                                    28a. JUDGE CODE

29. IN COURT COME.                     30. OUT OF COURT COMP.             31. TRAVEL EXPENSES              32. OTHER EXPENSES                      33. TOTAL AMT. APPROVED
                                                                                                                                                   $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                              DATE                                    34a. JUDGE CODE
    in excess of the statutory threshold amount.
